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SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-05-033-CV



IN RE DAVID L. SMITH	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator's petition for writ of mandamus and/or prohibition, and request for a temporary stay of deposition and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus and/or prohibition and request for a temporary stay of deposition &nbsp;are denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.

PER CURIAM





PANEL A:	CAYCE, C.J.; LIVINGSTON and HOLMAN, JJ.



LIVINGSTON, J., not participating.



DELIVERED: January 31, 2005

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




